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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


 M.P. MOON,

                     Plaintiff,

              v.
                                                      No. 1:19-cv-01856-SB
 CORTEVA, INC. and DUPONT DE
 NEMOURS, INC.,

                     Defendants.


                                        ORDER

   1. The motion to dismiss, D.I. 22, is GRANTED. The Amended Complaint, D.I.
19, is DISMISSED WITHOUT PREJUDICE.

    2. By May 14, Moon shall file an amended complaint. He shall make changes only
to address the issue discussed in the accompanying opinion.

   3. The defendants may file a renewed motion to dismiss by May 21. If they no
longer contest whether they are proper defendants, they need not file another brief,
and the Court will rule on the other issues presented in the original motion to dismiss.

   4. If defendants still wish to contest whether they are proper defendants, they
shall file a brief not to exceed five pages on the issue. Moon may then file a five-page
answering brief by May 28, and the defendants may file a three-page reply by June
2.



Dated: May 7, 2021                            ____________________________________
                                               UNITED STATES CIRCUIT JUDGE
